Case 1:23-cv-05072-MLB Document 46-14 Filed 01/09/25 Page1of6

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.

1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

Ex. J — William Brogdon Affidavit
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.
1:23-cv-05072-MLB
Vv.
THOMAS WILLIAMSON,
Defendant.

AFFIDAVIT OF WILLIAM BROGDON

Personally, appeared before the undersigned officer, authorized to
administer oaths, WILLIAM BROGDON who, being duly sworn, does state under
oath as follows:

1.

My name is WILLIAM BROGDON. I am over the age of eighteen (18),
competent to testify and submit this affidavit in the above referenced case with the
understanding that it may be relied on by the court in adjudication of the issues
pending before it.

2.
I am currently employed as a Gwinnett County Magistrate Judge and was

serving in that capacity on March 17, 2017.
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3,
As part of my duties as a Gwinnett County Magistrate Judge I routinely issue
arrest warrants.

4,

During the entirety of my service as a Gwinnett County Magistrate Judge,
including on March 17, 2017, the process for issuance of an arrest warrant involves
both a written warrant application and affidavit and sworn oral testimony from the
person seeking the arrest warrant.

5.

In instances where there are discrepancies or concerns about the existence of
probable cause for the issuance of an arrest warrant it is my custom and practice to
ask the applicant questions regarding the evidence supporting probable cause.

6.

I issued the arrest warrant attached hereto as Exhibit “A” after both a review
of the written application and affidavit and receipt of sworn oral testimony from
Officer Thomas Williamson.

Pursuant to 28 U.S.C.A. § 1746, by my signature below, I declare, under

penalty of perjury, that the foregoing is true and correct. Executed on December
18, 2024.

“pe oS

WILLIAM BROGDON

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sss MAGISTRATE COURT OF GWINNETT COUNTY
CRIMINAL ARREST WARRANT APPLICATION
DATE Friday, March 17, 2047 : CaseNo 2017-00580
207 53PM

WARRANT NO 17W05732

PROSECUIOR 1 Williamson
ADDRESS: 52 Gwinneit Dive
MNY Lawrenéevitle STATE GA ZIP. 30045

*HONE NO 770-513-6715 (WORK) PAX E-MAIL

Acc VehUnusua
ACCUSED DAVID GHRISTOPHER WARTH

ADDRESS

CITY

PHONE NO FAX E:MAIL

RACE W AGE 20 - SCX Male HT 514 WT 180 BYES HAZ (Hazel) HAIR BRO (Brown)
SPECIAL BODY MARK Scars/Tattoo-

DOB 14/30/1996 _ SSN AUTO TAG

WITNESSES’

DATE OF INCIDENT 2/6/2017 (0 2/7/2017 TIME OF (NCIDENT 700 00AM to 7 00 00AM

NCIDENT LOCATION 1255 Dogwood Rd, SNELLVILLE, GA, 30078

Mi FELONY O FAMILY VIOLENCE ROBATION M&M IN CUSTODY

GC. Detention Center

[1 MISDEMEANOR 1 SPECIAL CONDITIONS Or BOND O “PAROLE
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CM» BEE, <
AS FECL

Magisirate Wilkam Brogdon

Prosecutor T Wilhamson
Agency Gwinnett County School Police
Badge 24

{prefer (. AM 4 PM cominitment hearing times
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. CRIMINAL ARREST WARRANT
GEORGIA, GWINNETT COUNTY WARRANT NO 17W05732
STATE OF GEORGIA CASE NO 2017 00580
v
DAVID CHRISTOPHER WARTH
DOB © ‘tustody Yes Location GC Detention
Center

Race W, Sex Male, Height 547 ,Weight 180,
Hair BRO (Brown), Eyes HAZ (Hazel)

AFFIDAVIT

Personally appeared the undersigned prosecutor T Withamsan who on oath says that fo the best of the prosecutors knowledge and
belief the above named accused between 2/6/2017 07 00 00 AM and 2/07/2017 07 00 00 AM at 1255 Dogwood Rd SN ELLVILLE,
GA, 30078 GWINNETT COUNTY did commit the affense of Aggravated Stalking ( Felony ) in violation of OC G A 166-91 (cc
1383).and against BRITTNEY OEWEY and the laws of the State of GEORGIA The facts of this affidavit for arrest are based on Said
accused did m violation of a condstion of pratial release, a copy of which is not attached Which prohibits certain behaviour, did
follow, place under surveillance, and contaét the victim at 1255 Dogwood Rd Snellville Ga 30078 (Brookwood High Schoolj.and
The Wal Mart shopping center located at 4375 Lawrenceville Hwy Tucker Ga 30084 in Dekalb County The-above locatiofi(s),
which ts not the residence of the Accused, without the consent of victim and for the purpose of harassing and intimidaling the
victim by threatening the vicums life Stating that the victim and the victims family and friends would be killed if the victim did
not file a motion to dismiss any pending cases the victim currently had in place Prosecutor makes this affidavit thal a warrant may
be issued for the accused person's arrest

Probable Cause

Said accused did in violation of a condition of pretial release, a copy of which ts not attached Which prohibits certain
behaviour, did follow, place under surveillance, and contact the victim at 1255 Dogwood Rd, Snellville Ga 30078 (Brookwood
High School) and The Wal-Matt shopping center located at 4375 Lawrenceville Hwy, Tucker Ga 30084 in Dekalb County The
above location(s), which ts not the residence of the Accused, without the consent of victim and for tha purpose of harassing
and intimidating the victim by threatening the victims life Stating that the victim and the victims family and friends would be
lulled if the victim did not file a motion to dismisa any pending cases the yictim currently had in place

Sworn to and subscribed before me this 17th day of March, 2017, af 02 08 26 PM

oe Cfo _-
WEE.
Judge ~~ William Brogdon Prosecutor T Willamson
Magistrate Court of GWINNETT COUNTY Badge 24 Agency Gwinnett County School Police

STATE WARRANT FOR ARREST

To any Sheriff Deputy Sheriff Coroner Constable or Marshal of this Stale- Greetings

For sufficient cause made known to me tn the above affidavit incorporated by reference herein and other sworn leslimony you are hereby
commanded {o arrest the accused DAVID GHRISTOPHER WARTH nanied in \he above affidavit charged by the prosecutor therein with the
above offense(s) against the laws of thus State af the time place and manner named In the above affidavit and bring the accused before me
or another judicial officer of this Stale to be deall with as the law directs Herein fail not

This 17th day of March, 2017, at 02 08 26 PM
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\ +

Judge Willam Brogdon
Magistrate Coutt of GWINNETT COUNTY

ORDER FOR BOND

IT 1S HEREBY ORDERED that the aforesaid accused DAVID CHRISTOPHER WARTH be and 1s hereby granled bail to be made with
sulficient surely as approved by the Sheriff of GWINNETT COUNTY in the amount of SUPERIOR COURT ONLY OCGA 17 6 1 to assure:
the presence of said accused al arraignment tral and final disposition in the Superior Court / State Court of GWINNETT COUNTY
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Witness my hand and seal, this 17th day of March, 2017, at 02 08 26 PM

Judge William Brogdon

Magistrate Court of GWINNETT COUNTY
fi FELONY C1 FAMILY VIOLENCE M PROBATION
O MISDEMEANOR CO SPECIAL.CONDITIONS OF BOND OPAROLE
IN CUSTODY

